
227 Md. 659 (1962)
180 A.2d 300
HENSON
v.
STATE
[App. No. 50, September Term, 1961.]
Court of Appeals of Maryland.
Decided January 12, 1962.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT, HORNEY and MARBURY, JJ.

PER CURIAM ORDER:
The applicant asks leave to appeal from the refusal of the Criminal Court of Baltimore to order that a transcript of the proceedings in which the applicant was convicted in 1953, be furnished to him by the State at State expense in order that he may use it in support of an application for a writ of habeas corpus which he has filed in the Supreme Court of the United States. He has been advised by the Clerk of the Criminal Court: "Should the Supreme Court of the United States request this office to forward it the papers in the case, including *660 the testimony of your trial, their request will be complied with."
This application is in substance an original petition to this Court for a writ of mandamus to effect a purpose not related to the exercise of its appellate jurisdiction. The issuance of such a writ is not within the jurisdiction of this Court. It follows that the application must be dismissed.
Application for leave to appeal dismissed.
